Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 1 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 2 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 3 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 4 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 5 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 6 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 7 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 8 of 9
Case 19-20771-tnw   Doc 19   Filed 08/28/19 Entered 08/28/19 09:44:25   Desc Main
                             Document     Page 9 of 9
